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 9                         UNITED STATES DISTRICT COURT FOR THE
10                              EASTERN DISTRICT OF CALIFORNIA
11
12   COALITION FOR A SUSTAINABLE DELTA and                    )
     KERN COUNTY WATER AGENCY,                                )   No. 1:09-cv-02024-LJO-BAM
13                                                            )
                 Plaintiffs,                                  )   STIPULATION AND ORDER
14                                                            )   RESETTING SCHEDULING
     v.                                                       )   CONFERENCE
15                                                            )
     FEDERAL EMERGENCY MANAGEMENT                             )
16   AGENCY, et al.,                                          )
                                                              )
17               Defendants.                                  )
                                                              )
18
19
             Pursuant to Fed. R. Civ. P. 6(b)(1)(A), L.R. 143, and L.R. 144(a), Plaintiffs and
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     Defendants, by and through undersigned counsel, hereby respectfully request and stipulate that
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     the Mandatory Scheduling Conference currently set for January 26, 2012 (docket no. 158) be
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     reset for Thursday, March 1, 2012, or a subsequent date that is convenient for the Court, in order
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     to allow the parties to conclude settlement discussions. The parties have been conducting
24
     extensive discussions and believe that they are close to reaching an agreement in principle that, if
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     approved by their clients, would obviate the need for any further litigation. Accordingly, good
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     cause exists for the proposed continuance.
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28
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 1   DATED: January 4, 2012                                 Respectfully submitted
 2   NOSSAMAN LLP                                               IGNACIA S. MORENO
     ROBERT D. THORNTON                                         Assistant Attorney General
 3   PAUL S. WEILAND
 4   AUDREY HUANG                                                  /s/ Kevin W. McArdle
                                                                KEVIN W. McARDLE, Trial Attorney
 5   By: _/s/ Paul S. Weiland                                   United States Department of Justice
                                                                Environment & Natural Resources Division
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 9   AMELIA T. MINABERRIGARAI
10                                                              Attorneys for Defendants
     By:     /s/ Amelia T. Minaberrigarai
11
     Attorneys for Plaintiff Kern County Water
12
     Agency
13
14                                                         ORDER

15            Having reviewed the parties Stipulation, IT IS HEREBY ORDERED that the Scheduling

16   Conference is continued from January 26, 2012 to March 1, 2012 at 8:30 AM in Courtroom 8
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     before Judge McAuliffe.                  A JOINT Scheduling Conference Report, carefully prepared and
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     executed by all counsel, shall be electronically filed in full compliance with the requirements set
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20   forth in the Order Setting Mandatory Scheduling Conference, one (1) full week prior to the

21   Scheduling Conference, and a copy shall be e-mailed, in WordPerfect or Word format, to
22   bamorders@caed.uscourts.gov.
23
24
     IT IS SO ORDERED.
25
26         Dated:                   January 5, 2012                   /s/ Barbara A. McAuliffe
27            DEAC_Signature-END:
                                                                UNITED STATES MAGISTRATE JUDGE

28            10c20kb8554
